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5    Attorney for Davi Fernandes

6
                                 UNITED STATES DISTRICT COURT
7
                                     DISTRICT OF NEVADA
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9
      UNITED STATES OF AMERICA,                        CASE NO.:    2:17-cr-0001-JAD-CWH
10
                    Plaintiff,
11                                                     MOTION TO WITHDRAW MOTION
      vs.                                              FOR JOINDER TO DEFENDANT
12                                                     ANDERSON ALCANTARA’S
      DAVI FERNANDES,                                  MOTION TO COMPEL [ECF 262]
13
                     Defendant.
14
15
16          COMES NOW, the Defendant, DAVI FERNANDES, by and through his counsel of

17   record, LUCAS J. GAFFNEY, ESQ., and hereby moves this Honorable Court to allow him to

18   withdraw his Motion join Defendant Anderson Alcantara’s Motion to Compel [ECF 262].

19          DATED: May 18, 2018.                            Respectfully submitted,

20                                                          /s/ Lucas Gaffney           .
                                                            LUCAS J. GAFFNEY, ESQ.
21                                                          GAFFNEY LAW
22                                                          1050 Indigo Drive, Suite 120
                                                            Las Vegas, Nevada, 89145
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1                                         MEMORANDUM
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            After consultation with counsel, Mr. Fernandes respectfully requests this Honorable
3
4    Court allow him to withdraw his Motion for Joinder to Defendant Anderson Alcantara’s

5    Motion to Compel [ECF 262].

6
            DATED: May 18, 2018.                               Respectfully submitted,
7
8                                                              /s/ Lucas Gaffney           .
                                                               LUCAS J. GAFFNEY, ESQ.
9                                                              GAFFNEY LAW
                                                               1050 Indigo Drive, Suite 120
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                     May 21, 2018
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2                              CERTIFICATE OF ELECTRONIC SERVICE

3           I, the undersigned, hereby certify that I am an employee of Gaffney Law, a firm

4    licensed to practice law in the District of Nevada, and I am of such age and discretion as to be
5    competent to serve papers.
6
            That on May 18, 2018, I served an electronic copy of the above and foregoing by
7
     electronic service via the ECF system.
8
9
10
                                           By:   x /s/ Lucas Gaffney                              x
11                                                Employee of Gaffney Law.

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